Case 2:05-cV-02030-dkv Document 13 Filed 08/25/05 Page 1 of 2 Page|D 18

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FoR THE WESTERN DISTRICT oF TENNESSEE
WESTERN DIVIsioN 05 AUG 25 PH 2= 09
NATHANIEL WADE, JR., moses ii GSULD
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Plainiiff, WlD 0? TN, MEMPHtS
v. No. 05-2030 B

NATIONAL SAFETY ASSOCIATES, INC.,

Defendant.

 

ORDER GRANTING PLAINTIFF'S MOTION FOR JURY TRIAL

 

Pending in this matter is the February 10, 2005 motion of the Plaintiff, Nathaniel Wade, Jr.,
for a jury trial. On April ll, 2005, this Court ordered that a copy of the motion be served on the
Defendant, National Safety Associates, lnc. According to the docket, no response to the jury request
has been filed by the Defendant, even though the time for such response has long expired
Moreover, the Court noted in its scheduling order entered August 23, 2005 that this case was set for
a trial by jury. The Defendant has yet to make any objection to the information contained in the
order. Consequently, as the Court assumes there is no objection thereto, the motion for jury trial is
GRANTED and the Clerk is directed to remove the February 10, 2005 motion from pending status.

iris So 0RDERED this-§ day OfAugusr 2005.

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.D NIEL BREEN \
UNI Er) sTATEs DISTRICT JUDGE

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This notice confirms a copy of the document docketed as number 13 in
case 2:05-CV-02030 Was distributed by faX, mail, or direct printing on
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Todd P. Photopulos

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Honorable .1. Breen
US DISTRICT COURT

